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   Attorney for:
 5 ANTHONY WILLIAMS
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 9                          IN THE UNITED STATES DISTRICT COURT

10                             EASTERN DISTRICT OF CALIFORNIA

11
12   UNITED STATES OF AMERICA,                          CASE NO. 11-cr-00353 MCE
13                              Plaintiff,              STIPULATION AND ORDER
                                                        CONTINUING STATUS
14   v.                                                 CONFERENCE REGARDING
                                                        JUDGMENT AND
15   ANTHONY WILLIAMS,                                  SENTENCING OF
                                                        DEFENDANT WILLIAMS
16                              Defendant.
17
18
                                             STIPULATION
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          Plaintiff United States of America, by and through its counsel of record, JEAN M. HOBLER,
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21 and defendant, ANTHONY WILLIAMS, by and through his counsel of record, SCOTT N.
22 CAMERON, hereby stipulate as follows:
23            1. By previous order, this Court set the date for status of sentencing as to defendant
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                 Anthony Williams for September 18, 2014.
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              2. By this stipulation, the parties now move this Court for an order setting the date for
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                 status of sentencing for October 2, 2014, at 9:00 AM.
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              3. Defendant Williams has a pending hearing on a petition alleging a pretrial release
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                   violation and the parties need the additional time to address that situation.
 1
            The government has authorized the defense counsel for Anthony Williams to sign this
 2
 3 stipulation its behalf.
 4          IT IS SO STIPULATED.
 5
 6          DATED: September 18, 2014                            BENJAMIN WAGNER
                                                                 United States Attorney
 7
                                                           by    /s/ Jean M. Hobler
 8                                                               JEAN M. HOBLER
                                                                 Assistant U.S. Attorney
 9
10          DATED: September 18, 2014
                                                           by    /s/ Scott N. Cameron
11                                                               SCOTT N. CAMERON
                                                                 Counsel for ANTHONY WILLIAMS
12
13                                                 ORDER
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15          IT IS SO ORDERED.
16 Dated: September 20, 2014
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